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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

AGNES RUSSELL,                                    § No. 4:13-cv-826
                                                  §
  Plaintiff,                                      §
                                                  §
  v.                                              §
                                                  §
GC SERVICES, LP. ,                                §
                                                  §
  Defendant.                                      §
                                                  §

                                 PLAINTIFF’S COMPLAINT

       AGNES RUSSELL (Plaintiff), through her attorneys, Krohn & Moss, Ltd., alleges the

following against GC SERVICES, LP. (Defendant):

                                       INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et

       seq. (FDCPA).

   2. Defendant acted through its agents, employees, officers, members, directors, heirs,

       successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                JURISDICTION AND VENUE

   3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy.”

   4. Defendant conducts business in the State of Texas, and therefore, personal jurisdiction is

       established.

   5. Venue is proper pursuant to 28 U.S.C. 1391(b)(1).

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                                        PARTIES

6. Plaintiff is a natural person residing in Boone, Iowa.

7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

   Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

8. Defendant is an alleged debt collector as that term is defined by 15 U.S.C. 1692a(6), and

   sought to collect a consumer debt from Plaintiff.

9. Defendant is a national debt collection company with its main office located in Houston,

   Texas.

                             FACTUAL ALLEGATIONS

10. In or around January and February of 2013, Defendant placed collection calls to Plaintiff

   attempting to collect an alleged debt arising from transactions for personal, household,

   and/or family purposes.

11. Defendant placed collection calls to Plaintiff at 515-231-90XX.

12. On January 21, 2013, Defendant called Plaintiff and left a voicemail message on Plaintiff’s

   answering machine. See Exhibit A.

13. In the voicemail message, Defendant’s representative, “Ken Glassmeyer” failed to

   meaningfully disclose the company’s name or the nature of the call or state that the call was

   from a debt collector. See Exhibit A.

14. In the voicemail message, Defendant’s representative, “Ken Glassmeyer”, directed Plaintiff

   to call him back at 1-314-851-4336, which is a number that belongs to Defendant. See

   Exhibit A.

15. On January 23, 2013, Defendant called Plaintiff and left a voicemail message on Plaintiff’s

   answering machine. See Exhibit B.
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16. In the voicemail message, Defendant’s representative, “Ken Glassmeyer” failed to

   meaningfully disclose the company’s name or the nature of the call or state that the call was

   from a debt collector. See Exhibit B.

17. In the voicemail message, Defendant’s representative, “Ken Glassmeyer”, directed Plaintiff

   to call him back at 1-314-851-4336, which is a number that belongs to Defendant. See

   Exhibit B.

18. On January 28, 2013, Defendant called Plaintiff and left a voicemail message on Plaintiff’s

   answering machine. See Exhibit C.

19. In the voicemail message, Defendant’s representative, “Ken Glassmeyer” failed to

   meaningfully disclose the company’s name or the nature of the call or state that the call was

   from a debt collector. See Exhibit C.

20. In the voicemail message, Defendant’s representative, “Ken Glassmeyer”, directed Plaintiff

   to call him back at 1-314-851-4336, which is a number that belongs to Defendant. See

   Exhibit C.

21. On February 1, 2013, Defendant called Plaintiff and left a voicemail message on Plaintiff’s

   answering machine. See Exhibit D.

22. In the voicemail message, Defendant’s representative, “Ken Glassmeyer” failed to

   meaningfully disclose the company’s name or the nature of the call or state that the call was

   from a debt collector. See Exhibit D.

23. In the voicemail message, Defendant’s representative, “Ken Glassmeyer”, directed Plaintiff

   to call him back at 1-314-851-4336, which is a number that belongs to Defendant. See

   Exhibit D.

24. On February 6, 2013, Defendant called Plaintiff and left a voicemail message on Plaintiff’s
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   answering machine. See Exhibit E.

25. In the voicemail message, Defendant’s representative, “Ken Glassmeyer” failed to

   meaningfully disclose the company’s name or the nature of the call or state that the call was

   from a debt collector. See Exhibit E.

26. In the voicemail message, Defendant’s representative, “Ken Glassmeyer”, directed Plaintiff

   to call him back at 1-314-851-4336, which is a number that belongs to Defendant. See

   Exhibit E.

27. On February 7, 2013, Defendant called Plaintiff and left a voicemail message on Plaintiff’s

   answering machine. See Exhibit F.

28. In the voicemail message, Defendant’s representative, “Ken Glassmeyer” failed to

   meaningfully disclose the company’s name or the nature of the call or state that the call was

   from a debt collector. See Exhibit F.

29. In the voicemail message, Defendant’s representative, “Ken Glassmeyer”, directed Plaintiff

   to call him back at 1-314-851-4336, which is a number that belongs to Defendant. See

   Exhibit F.

30. Defendant is using false, deceptive and misleading means in connection with attempting to

   collect a debt by not identifying the purpose of its phone calls or that they are an attempt to

   collect a debt.



                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

31. Defendant violated the FDCPA based on the following:

       a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

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              consequence of which is to harass, oppress, or abuse Plaintiffs

          b. Defendant violated §1692d(6) of the FDCPA by placing collection calls to Plaintiffs

              without meaningful disclosure of the caller’s identity.

          c. Defendant violated § 1692e of the FDCPA by using false, deceptive or misleading

              representations or means in connection with the collection of the debt.

          d. Defendant violated § 1692e(10) of the FDCPA by using deceptive means in an

              attempt to collect a debt.

          e. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in its

              communications with Plaintiff that the communication was from a debt collector.

WHEREFORE, Plaintiff, AGNES RUSSELL, respectfully requests judgment be entered against

Defendant, GC SERVICES, LP., for the following:

   32. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k,

   33. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k

   34. Any other relief that this Honorable Court deems appropriate.

                                                    RESPECTFULLY SUBMITTED,

      Dated: March 22, 2013                         By: /s/Ryan S. Lee
                                                    Ryan S. Lee
                                                    Krohn & Moss, Ltd
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                                                    Los Angeles, CA 90025
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